Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 1 of 24




                   EXHIBIT A
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 2 of 24




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 KATHLEEN MOLLER                                     *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                                     *
 VERSUS                                              *   JUDGE WENDY B. VITTER
                                                     *
 MARTIAN SALES, INC; JOPEN, LLC,                     *   MAGISTRATE DONNA PHILLIPS
 a Texas limited liability company;                  *   CURRAULT
 JOHNSON FOODS, LLC, a Wyoming                       *
 limited liability company; LP IND., LLC,            *
 a Wyoming limited liability company;                *
 CAG HOLDINGS, LLC, a Wyoming                        *
 limited liability company; RMH                      *
 HOLDINGS, INC., a Wyoming                           *
 corporation; ABC INSURANCE                          *
 COMPANY and John Does 1-4.                          *
                                                     *
 ***********************************

       DEFENDANT MARTIAN SALES, INC.’S RESPONSES AND OBJECTIONS
             TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

TO:     Plaintiff, Kathleen Moller, by and through her attorneys of record, Nelson W. Wagar, III,
        Sarah Wagar Hickman, Wagar Hickman, LLP, 1401 West Causeway Approach,
        Mandeville, Louisiana and Michael Cowgill, Tamara J. Williams, mctlaw, 1605 Main
        Street, Suite 710, Sarasota, Florida 34236

        Defendant Martian Sales, Inc., pursuant to the Federal Rules of Civil Procedure, responds

to Plaintiff’s Kathleen Moller’s First Set of Interrogatories, as follows:

                                     GENERAL OBJECTIONS

        1.      Defendant objects to the Interrogatories to the extent that they are vague,

ambiguous, overbroad, unduly burdensome, oppressive, not relevant to the subject matter of this

action, and not reasonably calculated to lead to the discovery of admissible evidence.

        2.      Defendant objects to the Interrogatories to the extent that they contradict, are

inconsistent with, or impose on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 1
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 3 of 24




        3.      Defendant objects to the Interrogatories to the extent they seek information and

materials protected by the attorney-client privilege, attorney-work product doctrine, and any

other applicable legal privilege.

        4.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that constitute or contain trade secrets, proprietary information, and/or other

confidential information. Defendant will produce such information only pursuant to a mutually

agreeable protective order in this matter, and if such information is not subject to any other

objections.

        5.      Defendant objects to the Interrogatories to the extent that they seek information or

documents that are not in its possession, custody, or control and are equally or more easily

accessible by Plaintiff.

        6.      Defendant objects to the Interrogatories to the extent they seek information or

documents outside the scope of the time, place, subject matter, and circumstances of the

occurrences mentioned or complained of in the Second Amended Complaint, dated February 6,

2024 (the “Complaint”). Paragraphs 14 and 17 of the Complaint allege that injuries were

suffered on February 6, 2023, allegedly after consumption of an unspecified kratom product.

Accordingly, actions or activities by Defendant after February 6, 2023—as well as issues,

documents, or communications in connection with activities other than the production and/or

distribution of Defendant’s kratom products—do not give rise to Plaintiff’s cause of action.

        7.      Subject to the foregoing objections and all applicable Specific Objections, and

unless otherwise specified, Defendant responds to these Interrogatories according to the

following time period: January 1, 2020 through February 6, 2023.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 2
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 4 of 24




        8.      Defendant objects to these Interrogatories to the extent they are not tailored

sufficiently to the issue of whether personal jurisdiction over Defendant in the State of Louisiana

exists in this action.

        9.      Defendant does not concede that any of the responses are or will be admissible

evidence at trial. Further, Defendant does not waive any objection, whether or not asserted

herein, to use any such answer at trial.

        10.     These Responses and Objections have been prepared pursuant to a reasonably and

duly diligent investigation and search for the necessary information.

                              SPECIFIC OBJECTIONS TO DEFINITIONS

        1.      Defendant objects to the definition of “documents” to the extent that it seeks

information not relevant to the subject matter of this litigation or is otherwise protected by the

attorney-client privilege or work product doctrine.

        2.      Defendant objects to the definition of “identify” to the extent that contradicts, is

inconsistent with, or imposes on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.

        3.      Defendant objects to the definition of “specific” and “specifically” to the extent that

contradicts, is inconsistent with, or imposes on Defendant any obligations in excess of the

requirements of the Federal Rules of Civil Procedure.

        4.      Defendant objects to the definition of “affiliate” to the extent that contradicts, is

inconsistent with, or imposes on Defendant any obligations in excess of the requirements of the

Federal Rules of Civil Procedure.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 3
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 5 of 24




                                  SPECIFIC RESPONSES TO
                              FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:

Please describe the extent of Martian Sales, LLC’s (hereinafter “Martian”) distribution of
Kratom into the State of Louisiana since January 1, 2018. In your description specify those who
received a distribution of Martian’s product, with the quantities of each specific Martian’s
product provided to each distributor and retailer within Louisiana.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made). It is unreasonable for Defendant

to respond with information related to any kratom product when this action is and should be

properly circumscribed to the product at issue in this case.

        Subject to the foregoing objections, Defendant states that it has never distributed any

kratom product into the State of Louisiana. Defendant does not retain any control over the product

or distribution channel used by the distributor, which is not located in Louisiana.

INTERROGATORY NO. 2:

Please identify all upstream suppliers (including manufacturers) of Kratom supplied to Martian
since January 1, 2018. In your answer, please include the name, address, and phone number for all
suppliers and manufacturers by year, and the form or type of product provided.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, information

about “all upstream suppliers (including manufacturers)” that does not relate to the State of

Louisiana is not a proper Interrogatory for purposes of jurisdictional discovery. It is unreasonable


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 4
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 6 of 24




for Defendant to respond with information related to any kratom product when this action is and

should be properly circumscribed to the product at issue in this case. Defendant also objects to the

time period sought in this Interrogatory as overbroad, unduly burdensome and not reasonably

calculated to lead to the discovery of admissible evidence.

        Subject to the foregoing objections, Defendant states that it contracts with manufacturers

located outside of Louisiana to produce kratom products and then contracts with a distributor, also

located outside of Louisiana, to purchase and distribute the products to retailers, wholesalers, and

other distributors. At or around the incident date alleged in the Complaint, Martian Sales has

contracted with the following manufacturers (none of which are located or incorporated in

Louisiana):

        LP Ind., LLC
               c/o Gwendolyn Payton
               Kilpatrick Townsend & Stockton LLP
               1420 Fifth Avenue
               Suite 3700
               Seattle, Washington 98101

        Calibre Manufacturing
               c/o Gwendolyn Payton
               Kilpatrick Townsend & Stockton LLP
               1420 Fifth Avenue
               Suite 3700
               Seattle, Washington 98101

        Nuza LLC
              c/o Gwendolyn Payton
              Kilpatrick Townsend & Stockton LLP
              1420 Fifth Avenue
              Suite 3700
              Seattle, Washington 98101

INTERROGATORY NO. 3:

Please describe the agricultural source(s) for the Kratom plant material that is used in the
production of Martian’s kratom products. In your description, please specify the location of
farms, fields, forests or acreages where the Kratom is being sourced from, including the specific
owners and address(es) or coordinates within each source country.


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 5
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 7 of 24




RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, the “agricultural

source(s) for [LP’s] Kratom plant material” is not relevant to the issue in this case—namely,

Defendant’s alleged liability, or lack thereof, for the events alleged in Paragraph 14 and 17 of the

Complaint. Similarly, Plaintiff’s demand to “specify the location of farms, fields, forests or

acreages where the Kratom is being sourced from, including the specific owners and address(es)

or coordinates within each source country” is overbroad and not tailored to the product, facts, or

time period at issue in this case.

INTERROGATORY NO. 4:

Please describe the nature and extent of any other representations to retailers and consumers
within Louisiana about the safety and efficacy (or lack thereof) of Martian’s Kratom products.
Your description should include but not be limited to verbal and written representations;
marketing materials; contracts, forms, templates and commercial documentation; website and
blog publications; correspondence, invoicing and e-mail communications with retailers
(including Defendant retailers); and scripts or guidance for salespersons, telemarketers, and/or
retailers of Martian’s kratom products. In describing each representation or collection of
representations, please include the location and content of each representation, the dates or
timeframes of the representation(s), and the persons making the representations (including
agents and affiliates) and the persons receiving the representations (including but not limited to
the Defendant retailers, consumers making on-line or telephone inquiries, or individuals raising
complaints or concerns).

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, it is not



DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 6
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 8 of 24




reasonable for Defendant to identify “any . . . representations to retailers and consumers within

Louisiana about the safety and efficacy” of Defendant’s kratom products without reasonable time

and scope limitations. Defendant further objects to this Interrogatory to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine.

        Subject to the foregoing objections, Defendant states that from approximately mid-2020

through February 2023, Defendant maintained www.opmskratom.com and the OPMS Kratom

products included a warning that provided:




INTERROGATORY NO. 5:

Please describe the extent to which you have received information that adverse events may have
been suffered by persons within Louisiana using Martian’s kratom products (such as reports,
claims, complaints, or allegations that a product user has suffered or may have suffered
addiction, withdrawal, overdose, disabilities, death, disruption to enjoyment of life, or other
negative symptoms or side effects from a Martian kratom product). Potential sources of such
information would include, but not be limited to, customers and consumers; retailers (including
the co-Defendants); comments or complaints submitted via website, social media, e- mail, or
otherwise; communications from consumer family members; communications from regulatory or
law enforcement officials; communications from medical professionals; etc.

RESPONSE:

        Subject to the foregoing objections, Defendant states that it is not aware of any “adverse

events” related to Defendant’s kratom products outside of the allegations contained in the

Complaint in this lawsuit, and the Amended Petition for Damages and Jury Demand dated July 3,


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 7
  Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25         Page 9 of 24




2024 filed in the matter of Bradley v. Martian Sales, Inc., et al., currently pending in the Fourth

Judicial District Court for the Parish of Ouachita, which Defendant specifically denies.

INTERROGATORY NO. 6:

Please describe in detail the full extent of your interaction and coordination with any other
named Defendant regarding the marketing, distribution, and sale of kratom products. In your
description address the timing and nature of any agreements, contracts and/or sales practices
involving Martian and any other Defendant from the time Martian was first introduced to the
Defendant to the present.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, the phrase “the

full extent of [its] interaction and coordination with any other named Defendant regarding the

marketing, distribution, and sale of kratom products” is without reasonable time and scope

limitations, and is therefore unduly burdensome and not tailored sufficiently to the issue of

personal jurisdiction.

        Subject to the foregoing objections, Defendant refers Plaintiff to Defendant’s Responses

to Request for Production Nos. 7 and 14 and states the following:

         (a)     ABC Insurance Co.: None.

         (b)     CAG: None.

         (c)     Johnson Foods, LLC: None.

         (d)     JOpen: JOpen distributes O.P.M.S. kratom products. JOpen does not have any

                 common ownership with Martian Sales and is not related to Martian Sales.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 8
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 10 of 24




           (e)   L.P.: LP performs manufacturing services related to bulk kratom. LP does not

                 have any common ownership with Martian Sales and is not related to Martian

                 Sales.

           (f)   RMH: None.

INTERROGATORY NO. 7:

Please describe all employees and contractors who have been paid by Martian to assist in
Martian’s business operations since January 1, 2018. This would include employees and
contractors involved in the ordering, manufacture, refining, packaging, and distribution of the
Martian product categories, as well as any other Martian administrative and/or business
operations. In your description, please specify include the name and contact information for each
employee and contractor, the dates of employment and/or contracts, and the nature of the
employment and services paid for.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, the phrase “all

employees and contractors who have been paid by Martian assist in Martian’s business operations

since January 1, 2018” is entirely overbroad and is not reasonably calculated to lead to the

discovery of admissible evidence. Further, this Interrogatory is not tailored sufficiently to the issue

of personal jurisdiction. Indeed, it is unclear how the information sought by this Interrogatory is

relevant to the allegations contained in the Complaint. Even if the information were relevant,

which it is not, Defendant further objects to the extent that this Interrogatories seeks irrelevant

private or proprietary information.

        Subject to all the foregoing objections, Defendant has had no employees or contractors

who have been paid by Defendant to assist in any business operations in Louisiana since January

1, 2018.


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES            PAGE 9
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 11 of 24




INTERROGATORY NO. 8:

Please describe how Martian has used distributors to distribute and sell Martian’s kratom products
throughout Louisiana since January 1, 2018. This description should address the agreements,
terms and conditions, procedures and practices (including invoicing), and limitations and
requirements that have governed Martian’s business relations with each distributor.

RESPONSE:

        Defendant does not distribute or sell kratom products in the State of Louisiana. Defendant

contracts with a distributor located outside of Louisiana to distribute products to retailers,

wholesalers, and other distributors. Defendant does not retain any control over the product or

distribution channel after it goes to the distributor.

INTERROGATORY NO. 9:

Describe the nature of any affiliation you have had with any other Defendant named in the
Complaint.

RESPONSE:

        Defendant objects to the term “affiliation” to the extent that it contradicts, is inconsistent

with, or otherwise expends Defendant’s discovery obligations under the Federal Rules of Civil

Procedure. Subject to all foregoing objections, Defendant states the following:

         (a)     ABC Insurance Co.: No affiliation.

         (b)     CAG: No affiliation.

         (c)     Johnson Foods, LLC: No affiliation.

         (d)     JOpen: No affiliation.

         (e)     L.P.: No affiliation.

         (f)     RMH: No affiliation.

INTERROGATORY NO. 10:

Identify and describe all websites and social media channels from which Martian’s kratom
products are distributed or sold into Louisiana (including but not limited to Botanicalpros.com,
konolabs.com, a1wholesaledistribution.com, and partynuts.com). For each identified website


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 10
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 12 of 24




plead describe how kratom products distributed or sold through such websites receive orders and
fulfill orders to and from Louisiana.

RESPONSE:

        Defendant does not distribute or sell kratom products in the State of Louisiana. Defendant

contracts with a distributor located outside of Louisiana to purchase and distribute products to

retailers, wholesalers, and other distributors. Defendant does not retain any control over the

product or distribution channel after sending it to the distributor. Defendant does not operate or

control any websites or social media channels directed into Louisiana. Defendant has the website

www.opmskratom.com, which can be accessed generally from the web.

INTERROGATORY NO. 11:

Confirm, correct, or otherwise describe the national chain of distribution for OPMS products
described in the Tampa Bay Times “Deadly Dose” series of articles, which can be found at:
https://project.tampabay.com/investigations/deadly-dose/kratom-industry/.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, the phrase

“national chain of distribution” is overbroad to the extent that it seeks information about

jurisdictions other than the State of Louisiana. Defendant also objects to this Interrogatory as

vague and ambiguous—specifically, it is not clear what is meant by a “national chain of

distribution”. Further, it is not reasonable to demand that Defendant explain or otherwise correct

information in a news article from a different jurisdiction with which Defendant had not

involvement whatsoever.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 11
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 13 of 24




        Subject to all the foregoing objections, Defendant does not distribute or sell kratom

products in the State of Louisiana. Defendant contracts with a distributor located outside of

Louisiana to purchase and distribute products to retailers, wholesalers, and other distributors.

Defendant does not retain any control over the product or distribution channel after sending it to

the distributor.

INTERROGATORY NO. 12:

Please describe the quality, quantity, and nature of all contacts between Martian Sale’s Inc. and
its affiliates (including Mark Reilly) with and within the state of Louisiana.

RESPONSE:

        Martian Sales has no contacts with the state of Louisiana and no responsive documents

exist in Martian Sales’s possession, custody, or control.

INTERROGATORY NO. 13:

Please describe the identity of any person(s) who have done business as OPMS or who have
manufactured, distributed, or sold OPMS branded kratom in Louisiana.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, the phrase “any

person(s) who have done business as OPMS or who have manufactured, distributed, or sold OPMS

branded kratom in Louisiana” is overbroad to the extent that it seeks information about

jurisdictions other than the State of Louisiana. Defendant further objects to this Interrogatory to

the extent that it seeks information not relevant to the facts and time period at issue in this case.

        Subject to the foregoing objects, JOpen, LLC distributes O.P.M.S. branded kratom, some

of which is sold in Louisiana.


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 12
    Case 2:24-cv-00228-WBV-DPC                     Document 88-2         Filed 03/03/25    Page 14 of 24




INTERROGATORY NO. 14:

Please describe the timeframes that Martian Sales (or any affiliate of Martian Sales) received
income or payments related to the design, development, manufacture, marketing, licensing, and/or
sale of OPMS branded kratom sold in Louisiana.

RESPONSE:

            Martian Sales is not compensated based on sales in Louisiana and no responsive

documents exist in Martian Sales’ possession, custody, or control.

INTERROGATORY NO. 15:

Please describe the facts and details surrounding the negotiation, execution, and implementation
of the “Intellectual Property License Agreement” executed on October 1, 2014, between Martian
Sales, Inc. (licensor) and Eri Wahyu Hidayat (licensee)1.

RESPONSE:

           Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action.

           Subject to all foregoing objections, Defendant states that Eri Wahyu Hidayat sold bulk

kratom to Martian Sales starting in 2014 and shipped it to the United States, at which point Martian

Sales received the bulk kratom and sold it to local stores in the Georgia area. The parties then

entered into the “Intellectual Property License Agreement” executed on October 1, 2015, between

Martian Sales, Inc. (licensor) and Eri Wahyu Hidayat (licensee), which speaks for itself. The

Agreement was terminated in 2020.




1
    A copy of the licensing agreement is attached hereto as Exhibit 1.


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 13
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 15 of 24




INTERROGATORY NO. 16:

Please identify the entities and persons involved in the design and development of OPMS kratom
products, including the technologies and processes utilized to create such products.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, information

about “the technologies and processes utilized to create such products” and information about “the

entities and persons involved in the design and development of OPMS kratom products” that does

not relate to the State of Louisiana—or to the facts and time period at issue in this case—is

unreasonable and not tailored specifically to jurisdictional discovery. It is also unreasonable for

Defendant to respond with information related to any kratom product when this action is and

should be properly circumscribed to the product at issue in this case.

        Subject to the foregoing objections, Defendant states Mark Reilly was responsible for the

design and development of O.P.M.S. kratom products.

INTERROGATORY NO. 17

Please identify the entities and persons involved in the manufacture, marketing, distribution, and
sale of OPMS kratom products in the five years preceding Harmony Moller’s death.

RESPONSE:

        Defendant objects to this Interrogatory on the grounds that it is overbroad, unduly

burdensome, and seeks information that is neither relevant to the subject matter of this action nor

to the determination of any motion made (or that could be made), or in connection with the issue

of whether personal jurisdiction over Defendant exists in this action. Specifically, information

about all “entities and persons involved in the manufacture, marketing, distribution, and sale of


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 14
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 16 of 24




OPMS kratom products” that does not relate to the State of Louisiana—or to the facts and time

period at issue in this case—is unreasonable and not tailored specifically to jurisdictional

discovery. It is also unreasonable for Defendant to respond with information related to any kratom

product when this action is and should be properly circumscribed to the product at issue in this

case.

        Subject to the foregoing objections, Defendant states it contracts with manufacturers

located outside of Louisiana to produce the kratom product and then contracts with a distributor

also located outside of Louisiana to purchase and distribute the products to retailers, wholesalers,

and other distributors. Specifically, in February 2023, Martian Sales contracted with the following

manufacturers:

        LP, Ind., LLC
               c/o Gwendolyn Payton
               Kilpatrick Townsend & Stockton LLP
               1420 Fifth Avenue
               Suite 3700
               Seattle, Washington 98101

        Calibre Manufacturing
               c/o Gwendolyn Payton
               Kilpatrick Townsend & Stockton LLP
               1420 Fifth Avenue
               Suite 3700
               Seattle, Washington 98101

        Nuza LLC
              c/o Gwendolyn Payton
              Kilpatrick Townsend & Stockton LLP
              1420 Fifth Avenue
              Suite 3700
              Seattle, Washington 98101

Martian Sales contracted with the following distributor:

        JOpen LLC
              c/o Gwendolyn Payton
              Kilpatrick Townsend & Stockton LLP
              1420 Fifth Avenue


DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 15
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 17 of 24




                Suite 3700
                Seattle, Washington 98101

        Martian Sales does not retain any control over the product or distribution channel after

initially selling it to the distributor. Further, Martian Sales does not engage in any advertising

within the State of Louisiana and does not direct any advertising campaigns to the state.

DATED: September 12, 2024

                                                 Respectfully submitted,



                                                     By /s/ Gwendolyn C. Payton
                                                        Hayley R. Ambler
                                                        Louisiana Bar No. 25848
                                                        KILPATRICK TOWNSEND & STOCKTON LLP
                                                        1100 Peachtree Street NE, Suite 2800
                                                        Atlanta, Georgia 30309
                                                        Telephone: (404) 815-6080
                                                        Facsimile: (404) 541-3268
                                                        hambler@ktslaw.com

                                                          Gwendolyn C. Payton (admitted pro hac vice)
                                                          KILPATRICK TOWNSEND & STOCKTON LLP
                                                          1420 Fifth Avenue, Suite 3700
                                                          Seattle, Washington 98101
                                                          Telephone: (206) 497-9600
                                                          Facsimile: (206) 299-0414
                                                          gpayton@ktslaw.com

                                                          Maeghan E. Whitehead (admitted pro hac vice)
                                                          KILPATRICK TOWNSEND & STOCKTON LLP
                                                          2001 Ross Avenue, Suite 4400
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 922-7138
                                                          Facsimile: (214) 279-4456
                                                          mewhitehead@ktslaw.com

                                                          Counsel for Defendants LP IND., LLC; CAG
                                                          HOLDINGS, LLC; RMH HOLDINGS, INC.;
                                                          MARTIAN SALES, INC.; and JOPEN, LLC.




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 16
 Case 2:24-cv-00228-WBV-DPC                 Document 88-2          Filed 03/03/25          Page 18 of 24




                                   CERTIFICATE OF SERVICE

        This is to certify that on the 12th day of September 2024, a copy of the foregoing

document was served on all counsel of record by electronic mail.



                                                     /s/ Gwendolyn C. Payton
                                                     Gwendolyn C. Payton




DEFENDANT MARTIAN’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF INTERROGATORIES           PAGE 17
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 19 of 24




                 EXHIBIT 1
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 20 of 24
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 21 of 24
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 22 of 24
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 23 of 24
Case 2:24-cv-00228-WBV-DPC   Document 88-2   Filed 03/03/25   Page 24 of 24
